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                  EXHIBIT 1
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 Mark Bunger
Demonstratives
 on TechShop
 Brand Value
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TechShop Brand of No Value at time of Alleged Infringement
 • The TechShop Brand had fallen into negative equity
   during the period of alleged infringement

 • There was no likelihood of confusion between TechShop
   and TechShop 2.0

 • Foreign licenses before TechShop’s collapse are not an
   appropriate model for determining the value of the
   TechShop brand

 • The value of the TechShop brand was undermined by its
   lack of distinctiveness
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 History of Makerspaces
  Long before TechShop
                                                    2001: MIT Professor Neil Gershenfeld
                                                          Coins “Maker” & “Makerspace”
1970’s                                                    and starts FabLab
HomeBrew Computer club

                   1980’s Chaos Computer Club


                                                                                                  2006: Noisebridge &
                                                                                                        TechShop
                                                                                                        begin




     Hackerspace
                                                                                         Makerspace
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Determining Brand Equity
Based on Subjective and Statistical Data
   Brand Equity is the amount that a consumer is willing to pay for a
   product/service from one source over a similar product/service from
   another source and can be determined from a number of sources:

      •   Analysis of public and media comments
          (e.g. Google Trends analysis)

      •   Public sources weighing surveys, sales figures, etc.
          (e.g., Interbrand, Brand Finance)

      •   Licensing income from brand
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TechShop Brand Had
  Negative Equity
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TechShop Brand Value Reaches Negative Equity
    Brands lose significant value into negative equity when there
    is

    • sudden and unexpected negative change

    • perception of negligence, incompetence or active malfeasance

    • a personal or material negative impact on customers, employees,
      or others outside of management and investors
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TechShop Brand Value Reaches Negative Equity
Statistical Analysis Shows Increase in Negative Brand Sentiment
                                                               Google Trends shows a steady decrease in
                                                               interest in TechShop starting in 2014 with
                                                               a sharp spike in interest at the time of the
                                                               bankruptcy followed by further plummet.
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TechShop Brand Value Reaches Negative Equity
Statistical Analysis Shows Increase in Negative Brand Sentiment

              AI Analysis of Online Comments Shows Increase in Negative Sentiment
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TechShop Brand Value Reaches Negative Equity
 Statistical Analysis Content Sources

                    AI Analysis of Online Comments Shows Negative Sentiment

                            Source (6257)                           Population %

                Twitter                                           64%

                news articles                                     19%

                forums                                            16%

                blogs and article comments                        1%
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TechShop Brand Value Reaches Negative Equity
Statistical Analysis Shows Increase in Negative Brand Sentiment

              GlassDoor Survey Shows Employees have Low Opinion of TechShop
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TechShop Brand Value Reaches Negative Equity
Statistical Analysis Shows Increase in Negative Brand Sentiment

              GlassDoor Survey Shows Employees’ Low Opinion of TechShop
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TechShop Brand Value Reaches Negative Equity
TechShop’s Bankruptcy was Sudden and Surprising
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TechShop Brand Value Reaches Negative Equity
TechShop’s Bankruptcy was Sudden and Surprising
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TechShop Brand Value Reaches Negative Equity
TechShop’s Bankruptcy was Sudden and Surprising
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TechShop Brand Value Reaches Negative Equity
TechShop’s Bankruptcy was Sudden and Surprising
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TechShop Brand Value Reaches Negative Equity
TechShop’s Bankruptcy was Perceived as the Result of Incompetence
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TechShop Brand Value Reaches Negative Equity
TechShop’s Bankruptcy was Perceived as the Result of Incompetence
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TechShop Brand Value Reaches Negative Equity
TechShop’s Bankruptcy was Perceived as the Result of Incompetence
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TechShop Brand Value Reaches Negative Equity
TechShop’s Bankruptcy was Perceived as the Result of Incompetence
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TechShop Brand Value Reaches Negative Equity
TechShop’s Bankruptcy was Perceived as the Result of Incompetence
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TechShop Brand Value Reaches Negative Equity
TechShop’s Bankruptcy was Perceived as the Result of Incompetence
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TechShop Brand Value Reaches Negative Equity
TechShop’s Bankruptcy Harmed Customers Personally and Materially
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TechShop Brand Value Reaches Negative Equity
TechShop’s Bankruptcy Harmed Customers Personally and Materially
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TechShop Brand Value Reaches Negative Equity
TechShop’s Bankruptcy Harmed Small Businesses
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TechShop Brand Value Reaches Negative Equity
TechShop’s Bankruptcy Harmed Small Businesses
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TechShop Brand Value Reaches Negative Equity
TechShop’s Bankruptcy Harmed Small Businesses
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TechShop Brand Value Reaches Negative Equity
TechShop’s Bankruptcy Harmed Employees


  Glassdoor
  https://www.glassdoor.com/Reviews/TechShop‐Reviews‐E515949.htm
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No Possibility of
  Confusion
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Public Statements Show No Possibility of Confusion
The Parties Distinguished TechShop and TechShop 2.0



                                                                       Dan Woods Distinguished “TechShop
                                                                           2.0” in First Announcement


                                                                          TechShop 2.0 is a “third party” and a
                                                                          “new entity” led by different people.



                                                                           TechShop is closed and a new
                                                                           person will make TechShop 2.0 a
                                                                           reality.


                                                                           Old officers and directors are not
                                                                           involved
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Public Statements Show No Possibility of Confusion
The Parties Distinguished TechShop and TechShop 2.0

               Dan Woods Publicly Distinguishes “TechShop 2.0” as a Separate Group
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Public Statements Show No Possibility of Confusion
The Parties Distinguished TechShop and TechShop 2.0

  Dan Rasure and Media Distinguish “TechShop 2.0” as a “new entity” . . .
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Public Statements Show No Possibility of Confusion
The Parties Distinguished TechShop and TechShop 2.0

  Media Distinguished “TechShop 2.0” When Memorandum of Understanding Terminated Early
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Public Statements Show No Possibility of Confusion
TechShop 2.0 was Distinguishable within Maker Community
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Public Statements Show No Possibility of Confusion
TechShop 2.0 was Distinguishable within Maker Community


         The Maker Community understood the 2.0 to signify something new and different
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Foreign Licenses Do
Not Measure Value
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TechShop, Inc. Foreign Licensing
Not a Valid Measure of Brand Value

  • Licenses predate the November 15, 2017, closing and bankruptcy
    announcement

  • TechShop gained brand value while foreign entities gained other value,
    (e.g. manuals, know how for set up, advice on space)

  • Foreign licenses do not represent domestic value

  • Licenses for community outreach activities are not comparable to
    relevant licenses in case
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TechShop, Inc. Foreign Licensing
Not a Valid Measure of Brand Value
     Foreign Partners Distanced Themselves After Drop in Brand Value
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TechShop, Inc. Foreign Licensing
Not a Valid Measure of Brand Value
           TechShop Received a Greater Benefit than Foreign Partners
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TechShop, Inc. Foreign Licensing
Not a Valid Measure of Brand Value
               Brands are not Equally Valued Across Countries
       $15,000 Franchise                                                      > $10,000 Franchise
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TechShop, Inc. Foreign Licensing
Not a Valid Measure of Brand Value

       Foreign Partners Used TechShop Brand for Community Outreach
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TechShop, Inc. Foreign Licensing
Not a Valid Measure of Brand Value

      Foreign Partners Used TechShop Brand for Community Outreach
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TechShop Name is
  Not Distinctive
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“TechShop” is not a Distinctive Name
 “TechShop” is Formed From Two Generic Parts

     Maker Community Used TechShop Generically with FabSpaces and Makerspaces
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“TechShop” is not a Distinctive Name
 “TechShop” is Formed From Two Generic Parts

             Frequency of Use of Name Components (1434 Makerspaces)
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“TechShop” is not a Distinctive Name
 “Tech” or “Shop” are Usually Combined with a More Distinctive Component
